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 1   LAW OFFICES OF SCOTT L. TEDMON
     A Professional Corporation
 2   SCOTT L. TEDMON, CA. BAR # 96171
     717 K Street, Suite 227
 3   Sacramento, California 95814
     Telephone: (916) 441-4540
 4   Email: tedmonlaw@comcast.net
 5   Attorney for Defendant
     ROBERT OLIVER
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 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                     )
12                                                 )
                            Plaintiff,             )       No. Cr. S-04-118 LKK
13                                                 )
                                                   )       STIPULATION AND
14                  v.                             )       ORDER CONTINUING STATUS
                                                   )       CONFERENCE; EXCLUSION OF TIME
15                                                 )
     ROBERT OLIVER, et al.,                        )
16                                                 )
                            Defendants.            )
17                                                 )
18          The United States of America, through Assistant U.S. Attorney John K. Vincent, and
19   defendant Robert Oliver, through his counsel Scott L. Tedmon; defendant David C. Harrison,
20   through his counsel L. Bruce Locke; defendant Robert G. Hodges, through his counsel Mark
21   Reichel; and defendant Edwin Jensen, through his counsel Emmett Mahle, hereby stipulate that the
22   status conference set for Tuesday, March 13, 2007 at 9:30 a.m., be continued to Tuesday, May 8,
23   2007 at 9:30 a.m. before United States District Judge Lawrence K. Karlton.
24          The government has provided defendants with approximately 11,000 pages of discovery,
25   much of which involves detailed financial records. Defense counsel needs additional time to review
26   this volume of discovery, conduct necessary defense investigation, determine what pretrial motions
27   to file, if any, and continue to discuss a potential resolution of this case with the government.
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 1             Based on the foregoing, all counsel stipulate it is appropriate to continue the current status
 2   conference to Tuesday, May 8, 2007 at 9:30 a.m. Ana Rivas has approved the May 8, 2007 hearing
 3   date. No jury trial date has been set in this case.
 4                            SPEEDY TRIAL ACT - EXCLUSION OF TIME
 5             The parties stipulate the Court should reiterate its previous finding that time be excluded
 6   through May 8, 2007 under the Speedy Trial Act based on the needs of counsel to prepare pursuant
 7   to 18 U.S.C. §3161(h)(8)(B)(iv); Local Code T4. The parties stipulate and agree that the interests
 8   of justice served by granting this continuance outweigh the best interests of the public and the
 9   defendants in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
10             Finally, Scott L. Tedmon has been authorized by all counsel to sign this stipulation on their
11   behalf.
12   IT IS SO STIPULATED.
13   DATED: March 7, 2007                             McGREGOR W. SCOTT
                                                      United States Attorney
14
                                                        /s/ John K. Vincent
15                                                    JOHN K. VINCENT
                                                      Assistant U.S. Attorney
16
17   DATED: March 7, 2007                             LAW OFFICES OF SCOTT L. TEDMON
18                                                     /s/ Scott L. Tedmon
                                                      SCOTT L. TEDMON
19                                                    Attorney for Robert Oliver
20
     DATED: March 7, 2007                             LAW OFFICE OF MOSS & LOCKE
21
                                                        /s/ L. Bruce Locke
22                                                    L. BRUCE LOCKE
                                                      Attorney for David C. Harrison
23
24   DATED: March 7, 2007                             LAW OFFICE OF MARK REICHEL
25                                                     /s/ Mark Reichel
                                                      MARK REICHEL
26                                                    Attorney for Robert G. Hodges
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 1   DATED: March 7, 2007                           LAW OFFICE OF EMMETT MAHLE
 2                                                   /s/ Emmett Mahle
                                                    EMMETT MAHLE
 3                                                  Attorney for Edwin Jensen
 4
 5
 6
                                                   ORDER
 7
            GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
 8
     ORDERED that the Status Conference now scheduled for Tuesday, March 13, 2007 at 9:30 a.m.,
 9
     is hereby continued to Tuesday, May 8, 2007 at 9:30 a.m., before the Honorable Lawrence K.
10
     Karlton.
11
            Based upon the above stipulation, the Court reiterates its previous finding that time be
12
     excluded under the Speedy Trial Act for need of counsel to prepare pursuant to 18 U.S.C.
13
     §3161(h)(8)(B)(iv), Local Code T4, through the Status Conference date of May 8, 2007. The Court
14
     finds that the interests of justice served by granting this continuance outweigh the best interests of
15
     the public and the defendants in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
16
            IT IS SO ORDERED.
17
     DATED: March 8, 2007
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